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                                                1 Robert Garrett, SBN 65886
                                                    rgarrett@garrett-tully.com
                                                2 Zi C. Lin, SBN 236989
                                                    zlin@garrett-tully.com
                                                3 GARRETT & TULLY, P.C.
                                                    225 S. Lake Ave., Suite 1400
                                                4 Pasadena, California 91101-4869
                                                    Telephone: (626) 577-9500
                                                5 Facsimile: (626) 577-0813

                                                6 Attorneys for Appellee and Defendant
                                                    Deutsche Bank National Trust Company,
                                                7 as Trustee for Alliance Bancorp Mortgage
                                                    Backed Pass-Through Certificate Series
                                                8 2007-OA1

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                                               10                            UNITED STATES DISTRICT COURT
                                               11                         CENTRAL DISTRICT OF CALIFORNIA
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                                               13 In re                                           District Court Case No.:
                                                                                                  2:18-cv-10188-AG
                                               14 STEVEN MARK ROSENBERG,
                                                                                                  (Honorable Andrew J. Guilford)
                                               15                  Debtor.
                                                                                                  US Bankruptcy Court Case No.:
                                               16                                                 Case No. 1:17-bk-11748-VK
                                                    STEVEN MARK ROSENBERG,
                                               17                                                 Chapter 7
                                                                   Plaintiff,
                                               18                                                 Adversary Case No. 1:17-ap-01096-VK
                                                             vs.
                                               19                                                 APPELLEE AND DEFENDANT
                                                    ALLIANCE BANCORP, INC (Estate),               DEUTSCHE BANK NATIONAL
                                               20   MORTGAGE ELECTRONIC                           TRUST COMPANY, AS TRUSTEE
                                                                                                  FOR ALLIANCE BANCORP
                                               21   REGISTRATION SYSTEMS, INC.,                   MORTGAGE BACKED PASS
                                                    OCWEN LOAN SERVICING, ONE                     THROUGH CERTIFICATE SERIES
                                               22
                                                    WEST BANK, DEUTSCHE BANK                      2007-OA01’S OBJECTION TO
                                                                                                  APPELLANT AND PLAINTIFF
                                               23   NATIONAL TRUST COMPANY, AS                    STEVEN MARK ROSENBERG’S
                                                    TRUSTEE FOR ALLIANCE                          RESPONSE TO ORDER TO SHOW
                                               24
                                                    BANCORP MORTGAGE BACKED                       CAUSE
                                               25   PASS-THROUGH CERTIFICATE
                                                    SERIES 2007-OA1 AND DOES 1
                                               26
                                                    THROUGH 25, INCLUSIVE,
                                               27
                                                                   Defendants.
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                                                                                                 1                    Case No. 2:18-cv-10188-AG
  320191
                                                    320191
                                                                   OBJECTIONS TO RESPONSE TO OSC BY DEUTSCHE BANK NATIONAL TRUST COMPANY
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                                                1        Appellee and defendant Deutsche Bank National Trust Company, as Trustee
                                                2 for Alliance Bankcorp Mortgage Backed Pass Through Certificate Series 2007-

                                                3 OA01 (“Deutsche Bank”) hereby objects to appellant and plaintiff Steven Mark

                                                4 Rosenberg’s response to order to show cause why his appeal should not be

                                                5 dismissed for failure to timely file notice of appeal.

                                                6

                                                7 I.     Rosenberg’s “excuse” that he failed to timely file a notice of appeal
                                                8        within the 14 days prescribed by statute because the last day to file
                                                9        (February 5, 2018) was a national day of mourning for President Bush is
                                               10        without merit; Pacer was available that day to file the notice of appeal.
                                               11        The Federal Rule of Bankruptcy Procedure (FRBP) Rule 8002 sets forth the
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                                               12 rules for the time to file a Notice of Appeal:

                                               13               Except as provided in subdivisions (b) and (c), a notice of
                                               14               appeal must be filed with the bankruptcy clerk within 14
                                               15               days after entry of the judgment, order, or decree being
                                               16               appealed.
                                               17 (FRCP Rule 8002(a)(1).)

                                               18        In instances where a party files a post-judgment motion, Rule 8002(b) states
                                               19 in part:

                                               20               (1) In General. If a party timely files in the bankruptcy
                                               21               court any of the following motions, the time to file an
                                               22               appeal runs for all parties from the entry of the order
                                               23               disposing of the last such remaining motion:
                                               24               . . . (B) to alter or amend the judgment under Rule 90231
                                               25        Rosenberg was required to file his notice of appeal no later than December 5,
                                               26 2018, or 14 days from November 21, 2018 when the bankruptcy court entered its

                                               27 order denying Rosenberg’s motion to alter or amend the judgment. (Dkt No. 74).

                                               28        Rosenberg admits that he failed to do so and instead filed his notice late on

                                                                                               2                   Case No. 2:18-cv-10188-AG
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                                                1 December 6, 2018. (Response to OSC, p. 2:15-16.)

                                                2        In response to the Court’s order to show cause, Rosenberg asserted that “all
                                                3 government offices were closed” on December 5, 2018 as a day of mourning for

                                                4 President George H.W. Bush and he was unable to file his notice of appeal.

                                                5 (Response to OSC, p. 4:7-11.) This does not excuse his failure to file his notice of

                                                6 appeal within the 14 days after the bankruptcy court denied his motion to alter or

                                                7 amend the judgment because PACER was available on December 5, 2018. The

                                                8 U.S. Bankruptcy Court for the Central District of California provided notice that

                                                9 “Electronic services will be available on December 5, 2018, including CM/ECF,

                                               10 LOU,                ePOC,                PACER,                 and              VCIS.”
                                               11 https://www.cacb.uscourts.gov/sites/cacb/files/documents/news/PN%2018-017.pdf
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                                               12        Rosenberg fails to provide any account or evidence of any attempts on his
                                               13 part to file his notice of appeal within those 14 days, including December 5, 2018.

                                               14 Had Rosenberg attempted to file his on December 5, 2018, he would have found that

                                               15 PACER was available that day to file it. There is nothing in his response to indicate

                                               16 that he tried to file his notice of appeal on time but was unable to do so. Indeed, all

                                               17 that can be drawn from his response is that Rosenberg simply decided not to file his

                                               18 notice until December 6. Rosenberg decided to file his notice late.
                                               19        The FRBP does provide for instances where there is “excusable neglect” in
                                               20 timely filing a notice of appeal.

                                               21        FRBP Rule 8002(d) provides that the time to file a notice of appeal can be
                                               22 extended after the prescribed deadline has passed, if the party filing the notice files a

                                               23 motion “within 21 days” of the deadline, and if the party “shows excusable neglect.”

                                               24        Here, however, no motion was filed and Rosenberg’s response to the order to
                                               25 show cause does not show any “excusable neglect.”

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                                                1 II.     December 5, 2018 was not a “legal holiday,” the notice of appeal was due
                                                2         that day; there was no extension of time for Rosenberg to file his notice of
                                                3         appeal.
                                                4         Rosenberg claims that December 5, 2018 was a “legal holiday” and he was
                                                5 afforded an extension of time to file his notice of appeal under FRCP Rule 6.1

                                                6 (Response to OSC, pp. 4:12-5:2.) However, Rule 6(a)(6) defines “legal holiday” as

                                                7               (6) “Legal Holiday” Defined. “Legal holiday” means:
                                                8               (A) the day set aside by statute for observing New Year's Day,
                                                9               Martin Luther King Jr.'s Birthday, Washington's Birthday,
                                               10               Memorial Day, Independence Day, Labor Day, Columbus Day,
                                               11               Veterans’ Day, Thanksgiving Day, or Christmas Day;
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                                               12               (B) any day declared a holiday by the President or Congress;
                                               13               and
                                               14               (C) for periods that are measured after an event, any other day
                                               15               declared a holiday by the state where the district court is
                                               16               located.
                                               17 (Emphasis added.) President Donald Trump did not proclaim December 5, 2018 a

                                               18 “legal holiday.” Instead, the President appointed “December 5, 2018, as a National
                                               19 Day         of         Mourning          throughout        the       United        States.”
                                               20 https://www.whitehouse.gov/presidential-actions/presidential-proclamation-

                                               21 announcing-death-george-h-w-bush/ Accordingly, FRBP 6 does not aid Rosenberg.

                                               22 His notice of appeal is simply untimely.

                                               23

                                               24 III.    Conclusion.
                                               25         Rosenberg’s notice of appeal was not timely filed. Rosenberg’s response to
                                               26 the order to show cause fails to show any excusable neglect for his failure to file a

                                               27
                                                    1
                                                      Rosenberg erroneously referred to FRCP Rule 6 as “Rule 26 of FRAP.” (Response
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                                                    to OSC, p. 4:12.)
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                                                1 timely notice of appeal within the 14 days prescribed by statute, and instead reflects

                                                2 a lack of diligence. Rosenberg’s appeal should be dismissed.

                                                3

                                                4 DATED: January 18, 2019              GARRETT & TULLY, P.C.
                                                5
                                                                                       Robert Garrett
                                                                                       Zi C. Lin
                                                6

                                                7
                                                                                       /s/ Zi C. Lin
                                                8                                      ZI C. LIN
                                                9                                      Attorneys for Appellee and Defendant Deutsche
                                                                                       Bank National Trust Company, as Trustee for
                                               10                                      Alliance Bancorp Mortgage Backed Pass-
                                               11                                      Through Certificate Series 2007-OA1
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                                                                                              5                    Case No. 2:18-cv-10188-AG
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                                                1                              CERTIFICATE OF SERVICE
                                                2        I hereby certify that on January 18, 2019 I electronically filed the foregoing with
                                                3 the Clerk of the Court using the CM/ECF system which will send notification of such

                                                4 filing to the e-mail addresses denoted on the attached Electronic Mail Notice List, and I

                                                5 hereby certify that I have mailed the foregoing document or paper via the United States

                                                6 Postal Service to the non-CM/ECF participants indicated on the attached Manual

                                                7 Notice List.

                                                8 VIA U.S. MAIL
                                                9

                                               10
                                                  Steven Mark Rosenberg
                                                  106-1/2 Judge John Aiso St., #225
                                               11 Los Angeles, CA 90012
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                                               12

                                               13        I certify under penalty of perjury under the laws of the United States of America
                                               14 that the foregoing is true and correct. Executed on January 18, 2019.

                                               15

                                               16                                                   /s/Delorise Cameron
                                               17                                                  Delorise Cameron
                                                                                                   GARRETT & TULLY, P.C.
                                               18                                                  225 South Lake Avenue, Suite 1400
                                                                                                   Pasadena, CA 91101
                                               19                                                  Telephone: (626) 577-9500
                                                                                                   Facsimile: (626) 577-0813
                                               20                                                  Email: zlingarrett-tully.com

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                                                                               OBJECTION TO RESPONSE TO OSC BY DEUTSCHE BANK NATIONAL TRUST COMPANY
